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                 Exhibit B
              Case 1:20-cv-05826-BMC Document 1-2 Filed 12/01/20 Page 2 of 3 PageID #: 29
            NEW YORK STATE TRAVELER HEALTH FORM rev. 11/4/20
               (One form per adult required. Children or other dependents traveling with you can be included with one adult.)

In response to increased rates of COVID-19 transmission in the United States and other countries, and to protect New York State’s (NYS)
successful containment of COVID-19, NYS has issued a travel advisory for anyone entering NYS from a non-bordering state or traveled
internationally from a country designated under a CDC level 2 (moderate risk) or 3 (high-risk) COVID-19 travel health notice.

All travelers coming to NYS from areas beyond the border states (NJ, CT, PA, MA, VT) must fill out this paper form (or online at:
https://coronavirus.health.ny.gov/covid-19-travel-advisory#traveler-health-form. Travelers must quarantine for 14 days from the last day in a
non-border state or another country, unless the traveler meets certain criteria. See reverse for additional details.
 First (given) name: ______________________________Last (family) name: _____________________________
 Birth date: ____/____/________(Month/Da y/Yea r)                        Gender: ____Male            ____Female ____Non-Binary
   Children/Dependents traveling with you – First and Last Name Birth date (Month/Day/Year)                         Gender

   1.

   2.

   3.

   4.

Telephone number:            (     ) ________-__________      Mobile?     ___Yes                                    ___No
Alternate telephone number: (      ) ________-__________      Mobile?     ___Yes                                    ___No
E-mail address: _____________________________________
Primary state of residence: ___NYS       ___Other (specify): ____________________
Date of arrival to NYS: ____/____/________ (Month/Day/Year)
IN THE LAST 14 DAYS HAVE YOU BEEN IN A STATE (not bordering NYS) OR COUNTRY (designated
under a CDC level 2 (moderate risk) or 3 (high-risk) COVID-19 travel health notice)?
      ____Yes-for more than 24 hours       ____Yes-for 24 hours or less, but not in the course of travel
      ____Yes, for less than 24 hours, solely in the course of travel (e.g., layover) _______No

List state/country: __________________________ Last date in state/country: ____/____/________(Month/Day/Year)
Other state/country(s): ______________________ Last date(s) in state/country: ____/____/________(Month/Day/Year)

Destination address in New York State: _____________________________________________________________
City: ____________________________________ State: _________                  Zip: __________
County: __________________________________ Hotel Name (if applicable): _____________________________
For New York State residents, is destination address your primary residence? ____Yes     ____No
For non-New York State residents, duration of visit in NYS:                  ________________________
Did you take a COVID-19 test within at most 72 hours prior to arriving in NYS?
___ No
___ Yes - You are acknowledging the Department of Health reserves the right to request a copy of the test result.
      If you are unable to provide, you will be required to quarantine for 14 days and may face a fine. You also must
      take a COVID-19 test on day 4 after arrival to NYS and quarantine until that second test result is negative.
How did you travel into New York State? (select all that apply)
___Private vehicle ___Public Transport ___Train            ___Airplane ___Ship ___Bus
Arrival Airport: ____________________ Airline: ________________ Flight #: _________ Seat #: ______




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TODAY OR IN THE PAST 24 HOURS, HAVE YOU HAD ANY OF THE FOLLOWING SYMPTOMS?
Fever (100.4° F / 38° C or higher), felt feverish, or had chills? ____Yes ____No
Cough? (new or worsening)?                                        ____Yes ____No
Difficulty breathing? (new or worsening)?                         ____Yes ____No

You will be called by a representative of the New York State Contact Tracing Program. Do you consent to receive
messages via text? (If you do not consent to text, you will be called to clarify any information needed.)
_____Yes _____No

What is your primary language?             ____English                ____Other (please specify): ____________________

ESSENTIAL WORKERS Are you a NYS resident and essential worker in NYS?
____Yes                 ____No
Are you visiting to perform essential work in NYS? ____Yes          ____No
If yes, are you a (select one):
        ____     Short-term essential worker traveling to New York State for a period of less than 12 hours? (such as an essential worker
                 passing through NYS, delivering goods, awaiting flight layovers, and other short duration activities)
        ____     Medium-term essential worker traveling to New York State for a period of 36 hours or less? (such as an essential worker
                 delivering multiple goods in NYS, awaiting longer flight layover, and other medium duration activities)
        ____     Long-term essential worker traveling to New York State for a period of greater than 36 hours? (such as an essential worker
                 working on longer projects, fulfilling extended employment obligations, and other longer duration activities)

EXEMPTIONS
All New Yorkers, as well as those visiting from out of state, are required to comply with all COVID-19 safety measures including wearing
face coverings, social distancing and avoiding group gatherings and vulnerable populations in the best interest of public health.
     • Travelers from border states (NJ, CT, PA, MA, VT) are not required to quarantine or test. However, non-essential travel is
         discouraged.
     • Essential workers from other states and countries are not required to quarantine. However, NYS essential workers and long-term
         essential workers are required to get tested 4 days after their arrival to NYS.
     • Travelers passing through another state or country for less than 24 hours, other than in the course of travel, are not required to
         quarantine. However, the traveler must take a COVID-19 test 4 days after their arrival in New York State.
     • Travelers who had a COVID-19 test prior to coming to NYS must take a second COVID-19 test on day 4 after arrival, and are
         required to quarantine for a minimum of 3 days upon arrival, and are no longer required to quarantine upon receiving a negative
         result from the second test (the test taken in New York).
     • All other travelers are required to quarantine for 14 days if they do not test prior to departure and on day 4 after arrival.
If you believe extraordinary circumstances apply and you should be exempt from any of these requirements, please contact the NYS COVID-
19 Hotline at 1-888-364-3065.

ADDITIONAL INFORMATION
    •   For additional information regarding the NYS Travel Advisory visit: https://ny.gov/traveladvisory
    •   For a list of countries designated under a CDC level 2 or 3 COVID-19 travel health notice, visit
        https://www.cdc.gov/coronavirus/2019-ncov/travelers/map-and-travel-notices.html
    •   Upon entering New York State, if you are a traveler and do not have a suitable dwelling for your 14-day quarantine
        period, you must find appropriate accommodations at your own cost. If you are a NYS resident returning from travel and
        do not have appropriate accommodations for quarantine, please call your local health department:
        www.health.ny.gov/contact/contact_information/

ATTESTATION
I hereby attest, under penalty of law, that all information that I have provided is true and accurate to the best of my knowledge.

_______________________________________________                                ________________
                  Signature                                                          Date




                                                                                                                                  (2 of 2)
